       Case 3:18-cv-00585-B Document 12 Filed 08/16/18             Page 1 of 2 PageID 46



                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

MAVIS MASSENGALE,

   Plaintiff,

-vs-                                               CASE NO.: 3:18-CV-00585-B

CHRYSLER CAPITAL, LLC,

   Defendant.
                                      /


                JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


         COMES NOW the Plaintiff, Mavis Massengale, and the Defendant, Chrysler Capital,

and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), hereby stipulate to dismiss, with prejudice, each

claim and count therein asserted by Plaintiff against the Defendant in the above styled action,

with Plaintiff and Defendant to bear their own attorney’s fees, costs and expenses.

         Respectfully submitted this 16th day of August, 2018.

/s/Frank H. Kerney, III                            /s/Virginia Bell Flynn
Frank H. Kerney, III, Esquire                      Virginia Bell Flynn, Esquire
Admitted Pro Hac Vice                              Texas Bar No. 24101258
Morgan & Morgan, Tampa, P.A.                       Troutman Sanders, LLP
One Tampa City Center                              1001 Haxall Point
Tampa, FL 33602                                    Richmond, VA 23219
Telephone: (813) 223-5505                          Telephone: (804) 697-1480
Facsimile: (813) 223-5402                          Facsimile: (804) 698-5109
fkerney@forthepeople.com                           Virginia.Flynn@troutmansanders.com
jkneeland@forthepeople.com                         Attorney for Defendant
snazario@forthepeople.com
Attorney for Plaintiff
    Case 3:18-cv-00585-B Document 12 Filed 08/16/18                Page 2 of 2 PageID 47


                                  CERTIFICATE OF SERVICE

       I hereby certify that on August 16, 2018, I electronically filed the foregoing with the

Clerk of the Court by using the CM/ECF system and that a Notice of this filing will be sent to the

following by operation of the Court’s Electronic Filing System: Virginia Bell Flynn, Esquire,

Troutman     Sanders,     LLP,     1001     Haxall     Point,    Richmond,      VA         23219

(virginia.flynn@troutmansanders.com).

                                                     /s/Frank H. Kerney, III
                                                     Frank H. Kerney, III, Esquire
                                                     Admitted Pro Hac Vice
                                                     Attorney for Plaintiff
